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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                      ORDER
                                                   Criminal No. 06‐211(01)
Kevin Joseph Fenner,

      Defendant.

___________________________________________________________________

      Jeffrey S. Paulsen, Assistant United States Attorney, Counsel for Plaintiff
United States of America.

      Defendant is pro se.
____________________________________________________________________

      This matter is before the Court on Defendant’s pro se motion to Strike

Information Alleging Prior Felony Drug Convictions.

      The Defendant was convicted of multiple drug charges following a jury

trial, and was sentenced to life in prison on December 10, 2008. His conviction

and sentence were affirmed on appeal. United States v. Fenner, 600 F.3d 1014

(8th Cir. 2010). The Defendant filed a timely petition to vacate his sentence

pursuant to 28 U.S.C. § 2255, which motion was denied. Thereafter, the Eighth

Circuit Court of Appeals denied the Defendant’s application for a certificate of


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appealability.

      By his current motion, the Defendant asks that the Court resentence him

“in keeping with the factors enumerated in 18 U.S.C. § 3553(a). Subject only to

the potential mandatory minimum concurrent sentences of 10 years that would

be applicable to Defendant.” Because he is challenging his sentence, the Court

will construe the instant motion as a successive motion for relief under § 2255.

Prior to filing such a motion, however, the Defendant is required to obtain a

certificate from the Eighth Circuit Court of Appeals. 28 U.S.C. § 2255(h). As

Defendant has not obtained such certificate, this matter is not properly before the

Court.

      IT IS HEREBY ORDERED that Defendant’s Motion to Strike Information

Alleging Prior Felony Drug Convictions [Doc. No. 328] is DENIED.

Date: July 31, 2015




                                s/ Michael J. Davis
                                Michael J. Davis
                                United States District Court




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